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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

R.M.S. TITANIC, INC.,
successor-in-interest to
Titanic Ventures, limited partnership,
               Plaintiff,

v.                                                            Civil Action No. 2:93cv902

THE WRECKED AND ABANDONED VESSEL, et al
         Defendant.

                       PERIODIC REPORT OF R.M.S. TITANIC, INC.
                         ON THE PROGRESS OF RESEARCH AND
                              RECOVERY OPERATIONS

       NOW COMES Plaintiff, R.M.S. Titanic, Inc. (“RMST” or the “Company”), by counsel,

and files this “Periodic Report of R.M.S. Titanic, Inc. on the Progress of Research and Recovery

Operations” (“Periodic Report”).

       I.      Introduction.

       It is beyond question that this Court has maintained in rem admiralty jurisdiction over the

Titanic and its cargo, and RMST’s future right to salvage artifacts has remained unaltered, even

though a transition of ownership has occurred with RMST. See Docket No. 540, ¶ L (“nothing in

this Order [approving the sale of the artifacts] shall be construed to alter, affect or limit RMST’s

current salvor-in-possession status, this Court’s in rem jurisdiction over the Titanic wreck, wreck

site and STAC, or any prior orders of this Court….”). See also R.M.S. Titanic, Inc. v. Haver, 171

F.3d 943, 963 (4th Cir.), cert. denied, 528 U.S. 825 (1999); Treasure Salvors, Inc. v. The

Unidentified Wrecked and Abandoned Sailing Vessel, 546 F. Supp. 919, 929 (S.D. Fla.1981)

(“While this interest attaches only to saved property, to protect a salvor’s general salvage rights, a
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court of admiralty will protect the inchoate right of salvors in yet-to-be salved property for a

reasonable period.”); California v. Deep Sea Research, Inc., 523 U.S. 491, 501-08 (1998).

       With this in mind, RMST has diligently continued its efforts to preserve the archaeological,

historic and cultural integrity of the Titanic wreck and wreck site after its last salvage expedition

in 2010, throughout the bankruptcy court proceedings, and since the sale to Premier Acquisition

Holdings, Ltd. (“PAHL”). Since it acquired RMST and the Titanic artifacts in 2019, and even

while the acquisition was being finalized, PAHL and the new management of RMST had made

plans to return to the wreck site as soon as practicable to conduct additional imaging, scientific

research and rescue archaeology of those artifacts that are most threatened by the rapid

deterioration of the wreck site. RMST has expended significant resources to hire the world’s

foremost and experienced experts in conducting recovery expeditions to the wreck site,

safeguarding the history of the Titanic, and conserving the artifacts in its collection for study and

display, for the express purpose of preparing an expedition to the wreck site and preserving

RMST’s salvor-in-possession status.       These experts include P.H. Nargeolet, David Gallo,

Alexandra Klingelhofer, William Lange, William Sauder, Parks Stephenson, Evan Kovacs, John

Broadwater, Ph.D., David Concannon, and Lori Johnston.              Together, these experts have

accumulated more than 100 years of experience with the Titanic, as they have participated in more

than 25 expeditions to the Titanic and the lion’s share of dives to explore and recover artifacts

from the wreck site.

       The depth of talent and experience collectively held by these experts is unmatched.

Together, they have prepared the following artifact recovery, conservation and research plans for

the Court’s consideration, attached hereto as Exhibits 1, 2 and 3 respectively.




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II.    RMST Corporate Updates

       Regarding previously discussed partnerships and in line with its overall strategy of

preserving the legacy of the R.M.S. Titanic, RMST continues to move forward with its alliance

with La Cite de la Mer in Cherbourg and is working to expand this partnership over a multi-year

period. RMST is currently in the negotiation phases of similar partnerships with additional

institutions to be identified in the coming months, in an effort to unite the Titanic community.

These steps are allowing for RMST to increase visibility of and accessibility to the artifacts and

corresponding research.

       In addition, the Company has aggregated and digitized its historical archives of imagery

and video and has developed access to the files via an online server. The Company’s experts are

already utilizing this server to assist in the completion of the company’s 2010 wreck report and for

research relating to the planned expedition. RMST intends to provide public access to much of its

archives in the future.

       In January of 2020, the Company completed a renovation of the Las Vegas Titanic

Exhibition which included a change in many of the displayed artifacts. In honor of the 108th

anniversary of the tragedy, RMST has installed 108 new artifacts into the Las Vegas venue to

continue to serve its mandate of sharing the artifact collection with the public.

       RMST has also been exploring projects with a several documentary production companies,

with the intention of fostering greater access to the artifact collection, the public exhibitions, and

internal research to further interest and study of the Titanic and her passengers.



       III.    Anticipated Scientific Work at the Wreck Site




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       In Expedition 2020, RMST will continue its research and imaging of the wreck site. RMST

plans to capture still and video imagery of the interior and exterior of the wreck to assess

degradation of the ship and to provide an update on the status of the structure itself. In addition to

imaging work, RMST plans to produce photogrammetric models of the wreck to complement the

work completed following the 2010 expedition. These models will create 3D visuals which will

allow for visual comparisons of the wreck over time.

       RMST plans to work in tandem with Lori Johnston, a microbial ecologist, to collect rusticle

samples from the debris field in order to provide real world samples to be assessed by Lori and her

team. The team believes that these samples will provide additional insight as to the status and

continued deterioration of the wreck. Following imagery comparisons from historic expeditions,

RMST is concerned with the acceleration in the degradation of the wreck.

       IV. Artifact Recovery Plans

       As noticed in the periodic report on November 22, 2019, RMST seeks approval of the

Court to complete prudent recovery of a limited number of artifacts from the wreck site. The

Company places the highest value of ensuring that any recovery is completed in a respectful and

judicious manner taking into account the sensitivities of such actions and Orders of this Court. At

the appropriate time, RMST will file a formal motion with the Court, seeking for explicit

permission to recover certain artifacts.

       RMST believes that its role is to utilize its experience and resources to share the legacy of

the ship and her passengers with the public through the items recovered from the wreck site. The

artifact exhibitions allow people to connect with the historical event and create a personal impact

which surpasses storytelling alone. Without the recovery, conservation and display of these

artifacts, the ability to experience first-hand additional historic treasures would be limited to only

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an exclusive group who has the privilege and means to travel to the wreck site. RMST works

diligently with all stakeholders to ensure this opportunity is offered to as many people as possible.

       RMST is dedicated to sharing the legacy of the ship and her passengers with the public and

has invested considerable resources toward this mission. To validate its views on recoverable

items, RMST has worked in tandem with archaeological researchers to create criteria for future

potential artifact collection. The Company believes this work and feedback from countless

stakeholders ensures the legitimacy of its recovery plans. The working list of criteria is below:

       Artifacts:

       -   which are not represented in the current collection

       -   which are imperative to the main or ancillary historical stories of Titanic and her

           passengers

       -   which are significant in the telling or further explanation of unanswered questions

           regarding the ship and her passengers

       -   which provide the ability to demonstrate cultural heritage or additional insight into the

           ship and its related technical aspects

       -   which are at risk of being lost forever due to the accelerated degradation of the ship or

           other factors

       -   in which conservation is possible immediately upon recovery to ensure the ability to

           display them for the public for decades to come

       As its primary recovery objective for the 2020 expedition, RMST seeks permission from

the Court to recover the Marconi Wireless Telegraph and the associated technical components of

the system. RMST outlines the historical importance of the Marconi Wireless Telegraph in a

memorandum written by Parks Stephenson, attached hereto as Exhibit 1. Mr. Stephenson, is a

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United States Naval Academy graduate, long-time deep-sea explorer, and repeat participant in

Titanic expeditions.

       RMST recognizes that the recovery of the Marconi Wireless Telegraph requires both

technical competency and pragmatic planning.        Attached as Exhibit 2 is a Proposed Object

Recovery of the Marconi (Radio) Equipment, prepared by historian William Sauder. Attached as

Exhibit 3 is a technical recovery plan prepared by Troy Launay, an industry veteran with 30 years’

experience in fabrication and operation of deep-sea mechanical tools and strategic recoveries.

Prior to any recovery, RMST plans to complete a pre-disturbance survey in order to more fully

inform its recovery process. RMST views the recovery and conservation of this historic equipment

to be as important as any artifact it has recovered from the wreck site. At the upcoming hearing

scheduled for February 20, 2020, RMST seeks to present testimony about the proposed plans for

the 2020 Expedition, including from Parks Stephenson, P.H. Nargeolet, and John Broadwater

Ph.D., the former manager of NOAA’s Maritime Heritage Program, as well as from David Alberg,

Superintendent of Monitor National Marine Sanctuary.




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       WHEREFORE, RMST submits this Periodic Report for the Court’s information and

consideration.

                                        Respectfully submitted,

                                        RMS TITANIC, INC.

                                        By Counsel:

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                                               Counsel for R.M.S. Titanic, Inc.



                                   CERTIFICATE OF SERVICE

       I hereby certify that on January 20, 2020, a copy of the foregoing has been electronically

filed with the Clerk of the Court using the CM/ECF system, which will send electronic

notification of such filing to all counsel of record.


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